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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO



  SKYTEC, INC.,                                  Case No.: 15-cv-02104 (BJM)

      Plaintiff,                                 Re: Declaratory Judgment, Temporary
                                                 Restraining Order, Preliminary Injunction,
      v.                                         Breach of Distribution Contract, Damages

  LOGISTICS SYSTEMS, INC.,                       Jury Trial is Demanded

     Defendant.




  JOINT MOTION FOR LEAVE TO WITHDRAW AND RETAIN NEW COUNSEL


TO THE HONORABLE COURT:

       COMES NOW, plaintiff Skytec, Inc., through the undersigned counsel, and very

respectfully state and pray as follows:

       1.      On September 12, 2018, the undersigned counsel requested leave of court

authorizing the undersigned counsel’s and the and the law firm of Cancio Nadal Rivera &

Díaz, P.S.C.’s withdrawal as counsel for Skytec (docket no. 164), which request is pending

before this Honorable Court.

       2.      Subsequently, Skytec retained the undersigned counsel, Alexis Fuentes

Hernández, Esq., as its bankruptcy attorney, who has accepted under said designation and

assignment to appear as counsel for Skytec in the instant case.

       WHEREFORE, Skytec, respectfully request from this Honorable Court to:

               a.     take notice of the above for all pertinent purposes;
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                  b.     enter Order authorizing Edgar Hernández Sánchez and the law firm of

                         Cancio Nadal Rivera & Díaz, P.S.C.’s withdrawal as counsel for

                         Skytec;

                  c.     enter Order granting Alexis Fuentes Hernández’s appearance as

                         counsel for Skytec and that all future notices addressed to Skytec are

                         henceforth served upon the said counsel; and

                  d.     grant any other relief deemed proper under the Law and/or Equity.

         In San Juan, Puerto Rico, this 14th day of December of the year 2018.

                                             CANCIO, NADAL, RIVERA & DÍAZ, P.S.C.
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                                             s/ Edgar Hernández Sánchez
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                                CERTIFICATE OF SERVICE

         IT IS CERTIFIED, that on this date the foregoing motion has been electronically

filed with the Clerk of Court using the CM/ECF system, which will send notification of said

filing to the counsels of record.

         In San Juan, Puerto Rico, this 14th day of December of the year 2018.

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